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 8                         UNITED STATES DISTRICT COURT
 9                        SOUTHERN DISTRICT OF CALIFORNIA
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11    ANGELA HUTCHESON; SARA                           Case No.: 3:24-cv-1977-JES-MMP
      LAFLER; ALUCARD TAYLOR; KAMA
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      DELK; ERIN RADCLIFFE; MIKHAILA                   ORDER GRANTING SECOND
13    DIEKMANN; CHELSEA GARDNER;                       JOINT MOTION TO STAY CASE
      ANDREW STARIN; SHARYL YEISLEY;                   PENDING MEDIATION
14
      and ERICA NATHAN, individually and on
15    behalf of all others similarly situated,
                                                       [ECF No. 13]
16                                   Plaintiffs,
17    v.
18    VEROGEN, INC. D/B/A GEDMATCH;
      and QIAGEN NORTH AMERICA
19
      HOLDINGS, INC.,
20                                 Defendants.
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 1          Before the Court is the parties’ second joint motion to stay the case pending
 2    mediation. ECF No. 13. Good cause appearing, the Court GRANTS the motion and
 3    ORDERS (1) the parties file a joint status report to inform the Court of the outcome of
 4    mediation on or before June 19, 2025; and (2) if a settlement is not reached at mediation,
 5    Defendants will have a deadline of July 14, 2025, to respond to the Amended Class Action
 6    Complaint.
 7          IT IS SO ORDERED.
 8    Dated: March 17, 2025
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